Case 2:20-cv-01004-MCA-MAH Document 1 Filed 01/30/20 Page 1 of 30 PagelD: 1

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

MICHAEL MOUSSAD, KIRILOS
ABDELMALAAK, GOREG BOTROS, LUIS
DOMINGUEZ and JAMIE MORENO, individually
and on behalf of all others similarly situated, i CIVIL CASE NO.

Plaintiffs, ?

-against- : COLLECTIVE AND CLASS
: ACTION

BARE HOBOKEN, LLC; BAREBURGER GROUP,
LLC; BE MY BURGER, LLC; EURIPIDES :
PELEKANOS; EFTYCHIOS PELEKANOS; : COMPLAINT
GEORGIOS RODAS; GEORGIOS DELLIS and
JOHN SIMEONIDIS, JOHN DOES 1-5 and ABC
CORPS. 1-5.

Defendants.

 

x

Plaintiffs Michael Moussad (“Moussad”), Kirilos Abdelmalaak (“Abdelmalaak” ), Goreg Botros
(“Botros”), Luis Dominguez (“Dominguez”) and Jamie Moreno (“Moreno”) (collectively
“plaintiffs”), individually and on behalf of themselves and all others similarly situated, through
their undersigned attorney, for their Collective and Class Action Complaint against Bare
Hoboken, LLC; Bareburger Group, LLC and Be My Burger, LLC (together as "Corporate
defendants"); Euripides Pelekanos (“Pelekanos”), Eftychios (“Jimmy”) Pelekanos (herein
“Jimmy”), Georgios Rodas (“Rodas”), Georgios Dellis (“Dellis”) and John Simeonidis
(“Simeonidis”) (together as "Individual defendants") all collectively referred to as
“defendants,” allege as follows with respect to all relevant times concerning this matter,
including the liability periods set forth in the Fair Labor Standards Act and New Jersey Wage

and Hour Law.

NATURE OF THE ACTION

1. Bareburger, a restaurant chain, has been involved in a series of claims by employees in

federal court in New York for violation of federal and state wage and hour laws.
Case 2:20-cv-01004-MCA-MAH Document 1 Filed 01/30/20 Page 2 of 30 PagelD: 2

See Hernandez v. Bare Burger Dio Inc., et al. (Case No. 1:12-cv-07794); Olvera, et al. v.
Bareburger Group LLC, et al. (Case No. 1:14-cv-01372); Cortez, et al. v. BB One LLC et
al. (Case No. 1:14-cv-04129-JPO); Serech, et al. v. Bareburger Group LLC, et al. (Case
No. 1:14-cv-07181); Morales, et al. v. Bareburger Group LLC, et al. (Case No. 1:15-cv-
06497); Almazo Vidal, et al. v. Columbus Village LLC, et al. (Case No. 1:19-cv-03675).
This is another such case.

2. Plaintiffs brings this action to recover unpaid minimum wages, unpaid overtime wages
and all available relief pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.
(“FLSA”), the New Jersey State Wage and Hour Law, N.J.S.A. 34:11-56a et seq. and
N.J.A.C. 12:56 et seq. (“NJWHL”) for defendants’ failure to pay their employees the full
amount of wages due. Plaintiffs seeks damages on their own behalf and on behalf of all
others similarly situated.

3. Defendants both directly own and franchise fast food restaurants in several states, under
the trade name “Bareburger.”

4. This case concerns a directly owned and operated Bareburger restaurant located at 515
Washington Street, Hoboken, NJ. 07030 (“Bareburger Hoboken”).

5. Bareburger Hoboken sells burgers and other food items, and offers catering, dine-in and
delivery options.

6. Plaintiffs brings this action pursuant to the FLSA and NJWHL on behalf of themselves
and other Delivery Drivers, Chefs, Cooks, Food Preparers and Dishwashers (“restaurant
workers’’).

7. Defendants maintained a policy and practice that denied restaurant workers the
appropriate minimum wage, and overtime wage compensation for hours worked in excess

of 40 hours per workweek, pursuant to the FLSA and NJWHL.
Case 2:20-cv-01004-MCA-MAH Document1 Filed 01/30/20 Page 3 of 30 PagelD: 3

8. At all relevant times, defendants applied a tip credit towards the wages of its Delivery
Drivers and paid them at a “tipped” minimum wage, which is below the statutory
minimum wage rates.

9. Defendants did not satisfy the strict requirements of the FLSA and NJWHL entitling
them to take a tip credit and pay a reduced minimum wage.

10. Plaintiffs seeks unpaid wages, other statutory damages, pre- and post-judgment interest
and declaratory relief against defendants’ unlawful actions, and attorney’ fees and costs
pursuant to the FLSA and NJWHL on behalf of themselves and similarly situated
restaurant workers.

JURISDICTION
11. This Court has subject matter jurisdiction of this case pursuant to 29 U.S.C. § 216(b) and
28 U.S.C. §§ 1331 and 1337, and has supplemental jurisdiction over plaintiffs’ claims under the
NJWHL pursuant to 28 U.S.C. § 1367.
12. The Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§ 2201
and 2202.

VENUE

13. Venue is proper in the District of New Jersey under 28 U.S.C. § 1391 because all or a
substantial part of the conduct alleged herein occurred in this judicial district. In addition,
plaintiffs reside in this district and were employed in this district.

THE PARTIES

Plaintiffs
14. Plaintiff Michael Moussad is a resident of Hudson County, New Jersey.
15. | Moussad was employed as a tipped Delivery Driver and then a tipped Delivery

Driver/Manager by Bareburger Hoboken from in or about 2014 to in or about May 2019.
Case 2:20-cv-01004-MCA-MAH Document1 Filed 01/30/20 Page 4 of 30 PagelD: 4

16.  Atall relevant times, Moussad was an employee engaged in commerce or the production
of goods for commerce on behalf of defendants. In the performance of his duties, Moussad
handled goods daily that traveled in interstate commerce, such as supplies and materials used to
operate the restaurant and catering business.

17. Atall relevant times, Moussad was an employee of defendants within the meaning of the
FLSA and NJWHL.

18. Moussad has consented to be a party to the FLSA claims in the action pursuant to 29
U.S.C. §216(b). His written consent is attached.

19. Plaintiff Kirilos Abdelmalaak is a resident of Hudson County, New Jersey.

20. | Abdelmalaak was employed as a tipped Delivery Driver by Bareburger Hoboken from in
or about September 2014 to in or about June 2019.

21. At all relevant times, Abdelmalaak was an employee engaged in commerce or the
production of goods for commerce on behalf of defendants. In the performance of his duties,
Abdelmalaak handled goods daily that traveled in interstate commerce, such as supplies and
materials used to operate the restaurant and catering business.

22. Atall relevant times, Abdelmalaak was an employee of defendants within the meaning of
the FLSA and NJWHL.

23.  Abdelmalaak has consented to be a party to the FLSA claims in the action pursuant to 29
U.S.C. §216(b). His written consent is attached.

24. Plaintiff Goreg Botros is a resident of Hudson County, New Jersey.

25. Botros was employed as a tipped Delivery Driver by Bareburger Hoboken from in or

about 2016 to in or about July 2019.
26.  Atall relevant times, Botros was an employee engaged in commerce or the production of

goods for commerce on behalf of defendants. In the performance of his duties, Botros handled
Case 2:20-cv-01004-MCA-MAH Document 1 Filed 01/30/20 Page 5 of 30 PagelD: 5

goods daily that traveled in interstate commerce, such as supplies and materials used to operate
the restaurant and catering business.

27. At all relevant times, Botros was an employee of defendants within the meaning of the
FLSA and NJWHL.

28.  Botros has consented to be a party to the FLSA claims in the action pursuant to 29 U.S.C.
§216(b). His written consent is attached.

29. Plaintiff Luis Dominguez is a resident of Hudson County, New Jersey.

30. | Dominguez was employed as a Cook/Food Preparer by Bareburger Hoboken from in or
about July 2015 to the present.

31. At all relevant times, Dominguez was an employee engaged in commerce or the
production of goods for commerce on behalf of defendants. In the performance of his duties,
Dominguez handled goods daily that traveled in interstate commerce, such as supplies and

materials used to operate the restaurant and catering business.

32. At all relevant times, Dominguez was an employee of defendants within the meaning of
the FLSA and NJWHL.
33. Dominguez has consented to be a party to the FLSA claims in the action pursuant to 29

U.S.C. §216(b). His written consent is attached.

34. Plaintiff Jamie Moreno is a resident of Hudson County, New Jersey.

35. | Moreno was employed as a Chef by Bareburger Hoboken from in or about April 2014 to
the present.

36. At all relevant times, Moreno was an employee engaged in commerce or the production
of goods for commerce on behalf of defendants. In the performance of his duties, Moreno
handled goods daily that traveled in interstate commerce, such as supplies and materials used to

operate the restaurant and catering business.
Case 2:20-cv-01004-MCA-MAH Document 1 Filed 01/30/20 Page 6 of 30 PagelD: 6

37.  Atall relevant times, Moreno was an employee of defendants within the meaning of the

FLSA and NJWHL.

38. Moreno has consented to be a party to the FLSA claims in the action pursuant to 29

U.S.C. §216(b). His written consent is attached.

Defendants

39, Defendant Bare Hoboken, LLC is a New York corporation that owns, operates and

controls Bareburger Hoboken.

40. Bare Hoboken, LLC maintains its corporate headquarters at 35-37 36th Street (2nd

Floor), Astoria, New York, 11106.

41. Bare Hoboken, LLC has been at all relevant times an employer engaged in commerce or

in the production of goods for commerce within the meaning of the FLSA. For example, much of

the supplies and materials that it uses daily are produced outside of the state of New Jersey.

42. At all relevant times, Bare Hoboken, LLC has had an annual gross volume of sales in

excess of $500,000.

43. Bare Hoboken, LLC is an “enterprise engaged in interstate commerce” within the

meaning of the FLSA.

+4, Bare Hoboken, LLC’s restaurant workers, including all plaintiffs, handled and sold goods

that have been produced for commerce.

45. Defendant Bareburger Group, LLC is a New York corporation that owns Bare Hoboken,
LLC.

46. Bareburger Group, LLC maintains its corporate headquarters at 35-37 36th Street (2nd

Floor), Astoria, New York, 11106.
Case 2:20-cv-01004-MCA-MAH Document 1 Filed 01/30/20 Page 7 of 30 PagelD: 7

47.  Bareburger Group, LLC has been at all relevant times an employer engaged in commerce
or in the production of goods for commerce within the meaning of the FLSA. For example, much

of the supplies and materials that it uses daily are produced outside of the state of New Jersey.

48.  Atall relevant times, Bareburger Group, LLC has had an annual gross volume of sales in
excess of $500,000.

49.  Bareburger Group, LLC is an “enterprise engaged in interstate commerce” within the
meaning of the FLSA.

50.  Bareburger Group, LLC restaurant workers, including all plaintiffs, handled and sold
goods that have been produced for commerce.

51. | Defendant Be My Burger, LLC is a New York corporation that owns Bare Hoboken,
LLC.

52. Be My Burger, LLC maintains its corporate headquarters at 35-37 36th Street (2nd
Floor), Astoria, New York, 11106.

33: Be My Burger, LLC has been at all relevant times an employer engaged in commerce or
in the production of goods for commerce within the meaning of the FLSA. For example, much of

the supplies and materials that it uses daily are produced outside of the state of New Jersey.

54. At all relevant times, Be My Burger, LLC has had an annual gross volume of sales in
excess of $500,000.

55. Be My Burger, LLC is an “enterprise engaged in interstate commerce” within the
meaning of the FLSA.

56. Bare Hoboken, LLC’s restaurant workers. including all plaintiffs, handled and sold goods
that have been produced for commerce.
57. Defendant Bareburger Group, LLC directly or indirectly is an owner of Bare Hoboken,

LLC.
Case 2:20-cv-01004-MCA-MAH Document 1 Filed 01/30/20 Page 8 of 30 PagelD: 8

58. Defendant Be My Burger, LLC directly or indirectly is an owner of Bare Hoboken, LLC.
59. Defendant Euripides Pelekanos is an owner of Bare Hoboken, LLC.

60. Defendant Jimmy Pelekanos is an owner of Bare Hoboken, LLC.

61. Defendant Georgios Rodas is an owner of Bare Hoboken, LLC.

62. Defendant Georgios Dellis is an owner of Bare Hoboken, LLC.

63. Defendant John Simeonidis is an owner of Bare Hoboken, LLC.

64. Defendants John Does 1-5 are owners of Bare Hoboken, LLC.

65. Defendants ABC Corps. 1-5 are owners of Bare Hoboken, LLC.

66. Upon information and belief, defendants, John Does 1-5 and ABC Corps. 1-5 are
individuals or entities whose names and addresses are unknown. These individuals or entities are
employers of the plaintiffs and those similarly situated within the meaning of the FLSA and
NJWHL. They may be liable to plaintiffs and those similarly situated, but whom plaintiffs may
not be knowledgeable of.

67. Euripides Pelekanos is sued individually in his capacity as principal, managing member,
owner and CEO of Bare Hoboken, LLC.

68. Jimmy Pelekanos is sued individually in his capacity as principal, managing member,
owner and COO of Bare Hoboken, LLC.

69. Georgios Rodas is sued individually in his capacity as principal, managing member and
owner of Bare Hoboken, LLC.

70. Georgios Dellis is sued individually in his capacity as principal, managing member and
owner of Bare Hoboken, LLC

71. John Simeonidis is sued individually in his capacity as principal, managing member and

owner of Bare Hoboken, LLC.

72. Euripides Pelekanos holds the position of President and CEO of Bareburger Group, LLC.
Case 2:20-cv-01004-MCA-MAH Document 1 Filed 01/30/20 Page 9 of 30 PagelD: 9

73. Jimmy Pelekanos holds the position of COO of Bareburger Group, LLC

74. Jimmy Pelekanos holds the position of President and CEO of Bare Hoboken, LLC.

75. Euripides Pelekanos and Jimmy Pelekanos are brothers.

76. All Individual defendants were co-founders of the Corporate defendants.

77. John Simeonidis holds the position of Chief Design Officer of Bareburger Group, LLC.

78. George Rodas holds the position of CCO of Bareburger Group, LLC.

79. Bare Hoboken, LLC was plaintiffs’ and the restaurant workers’ employer under the
FLSA and NJWHL.
80. Euripides Pelekanos was plaintiffs’ and the restaurant workers’ employer under the

FLSA and NJWHL because he exercised sufficient operational control and policy-making
authority over Bareburger Hoboken operations, established the restaurant workers’ terms and
conditions of employment, and created and enforced the method by which the workers’ wages
were computed and paid.

81. For example, Euripides Pelekanos had the power to, and did, hire, fire and discipline
employees, establish and implement pay practices, work rules, work assignments, and
scheduling, control labor relations, personnel and pay policies and practices, determine wages,
pay wages and maintain time and payroll records at Bareburger Hoboken.

82. Jimmy Pelekanos was plaintiffs’ and the restaurant workers’ employer under the FLSA
and NJWHL because he exercised sufficient operational control and policy-making authority
over Bareburger Hoboken operations, established the restaurant workers’ terms and conditions of
employment, and created and enforced the method by which the workers’ wages were computed
and paid.

83. For example, Jimmy Pelekanos had the power to, and did, hire, fire and discipline

employees, establish and implement pay practices, work rules, work assignments, and
Case 2:20-cv-01004-MCA-MAH Document 1 Filed 01/30/20 Page 10 of 30 PagelID: 10

scheduling, control labor relations, personnel and pay policies and practices, determine wages,
pay wages and maintain time and payroll records at Bareburger Hoboken.

84. Georgios Rodas was plaintiffs’ and the restaurant workers’ employer under the FLSA and
NJWHL because he exercised sufficient operational control and policy-making authority over
Bareburger Hoboken operations, established the restaurant workers’ terms and conditions of
employment, and created and enforced the method by which the workers’ wages were computed
and paid.

85. For example, Georgios Rodas had the power to, and did, hire, fire and discipline
employees, establish and implement pay practices, work rules, work assignments, and
scheduling, control labor relations, personnel and pay policies and practices, determine wages,
pay wages and maintain time and payroll records at Bareburger Hoboken.

86. Georgios Dellis was plaintiffs’ and the restaurant workers’ employer under the FLSA and
NIJWHL because he exercised sufficient operational control and policy-making authority over
Bareburger Hoboken operations, established the restaurant workers’ terms and conditions of
employment, and created and enforced the method by which the workers’ wages were computed
and paid.

87. For example, Georgios Dellis had the power to, and did, hire, fire and discipline
employees, establish and implement pay practices, work rules, work assignments, and
scheduling, control labor relations, personnel and pay policies and practices, determine wages,
pay wages and maintain time and payroll records at Bareburger Hoboken.

88. John Simeonidis was plaintiffs’ and the restaurant workers’ employer under the FLSA
and NJWHL because he exercised sufficient operational control and policy-making authority

over Bareburger Hoboken operations, established the restaurant workers’ terms and conditions of

10
Case 2:20-cv-01004-MCA-MAH Document1 Filed 01/30/20 Page 11 of 30 PagelD: 11

employment, and created and enforced the method by which the workers’ wages were computed
and paid. |

89. For example, John Simeonidis had the power to, and did, hire, fire and discipline
employees, establish and implement pay practices, work rules, work assignments, and
scheduling, control labor relations, personnel and pay policies and practices, determine wages,
pay wages and maintain time and payroll records at Bareburger Hoboken.

90.  Bareburger Group, LLC acted directly or indirectly in the interest of Bare Hoboken, LLC.
91. | Be My Burger, LLC acted directly or indirectly in the interest of Bare Hoboken, LLC.

92.  Pelekanos acted directly or indirectly in the interest of Bare Hoboken, LLC.

93. Jimmy acted directly or indirectly in the interest of Bare Hoboken, LLC.

94.  Rodas acted directly or indirectly in the interest of Bare Hoboken, LLC.

95. Dellis acted directly or indirectly in the interest of Bare Hoboken, LLC.

96. Simeonidis acted directly or indirectly in the interest of Bare Hoboken, LLC.

97. John Does 1-5 acted directly or indirectly in the interest of Bare Hoboken, LLC.

98. | ABC Corps. 1-5 acted directly or indirectly in the interest of Bare Hoboken, LLC.

99, Bare Hoboken, LLC is jointly and severally liable for the violations of the FLSA and
NJWHL by Bare Hoboken, LLC.

100. Bareburger Group, LLC is jointly and severally liable for the violations of the FLSA and
NJWHL by Bare Hoboken, LLC.

101. Be My Burger, LLC is jointly and severally liable for the violations of the FLSA and

NJWHL by Bare Hoboken, LLC.

102. Pelekanos is personally and jointly and severally liable for the violations of the FLSA and

NJWHL by Bare Hoboken, LLC.

11
Case 2:20-cv-01004-MCA-MAH Document1 Filed 01/30/20 Page 12 of 30 PagelD: 12

103. Jimmy is personally and jointly and severally liable for the violations of the FLSA and
NJWHL by Bare Hoboken, LLC.

104. Rodas is personally and jointly and severally liable for the violations of the FLSA and
NJWHL by Bare Hoboken, LLC.

105. Dellis is personally and jointly and severally liable for the violations of the FLSA and
NJWHL by Bare Hoboken, LLC.

106. Simeonidis is personally and jointly and severally liable for the violations of the FLSA
and NJWHL by Bare Hoboken, LLC.

107. The Corporate defendants, Bare Hoboken, LLC, Bareburger Group, LLC and Be My
Burger, LLC, are a single employer and a single integrated enterprise with respect to the
plaintiffs and employees similarly situated, within the meaning of the FLSA and NJWHL and
collectively liable for the violations alleged herein. In this regard, the three Corporate defendants
constitute a single employer and a single integrated enterprise, as all decision-making is made by
a common ownership, with common directors or officers, there is a common de facto exercise of
control by the parent and subsidiaries, common existence of unity of personnel and wage
payment policies emanating from a common source, common dependency of operations,
interrelation of operations, centrally controlled labor relations, and common management and
financial control.

108. The three Corporate defendants operate out of the same corporate headquarters.

109. The three Corporate defendants maintain their business records substantially in the same
corporate headquarters.

110. The three Corporate defendants are individually liable, and together liable as a single

employer and single integrated enterprise, for the violations alleged herein.

12
Case 2:20-cv-01004-MCA-MAH Document1 Filed 01/30/20 Page 13 of 30 PagelD: 13

111. Upon information and belief, Individual Defendants Euripides Pelekanos, Jimmy
Pelekanos, Georgios Rodas, Georgios Dellis, and John Simeonidis operate Corporate defendants
as either alter egos of themselves, and/or failed to operate Corporate defendants as entities
legally separate and apart from themselves by, among other things,

a. failing to adhere to the corporate formalities necessary to operate Corporate defendants
as corporations,

b. defectively forming or maintaining Corporate defendants by, among other things,
failing to hold annual meetings or maintaining appropriate corporate records,

c. transferring assets and debts freely as between all defendants, and any others with
ownership interests,

d. operating Corporate defendants for their own benefit and maintaining control over
these corporations as closed corporations,

e. intermingling assets and debts of their own with Corporate defendants and diminishing
and/or transferring assets to avoid full liability as necessary to protect their own interests,

f. transferring assets and debts between all defendants and any others with ownership
interests without proper consideration,

g. operating Corporate defendants for their own benefit as the sole or
majority shareholders, and

h. other actions evincing a failure to adhere to the corporate form.

COLLECTIVE ACTION ALLEGATIONS

97. Plaintiffs brings the First Claim and Second Claim against defendants as a collective
action pursuant to the FLSA, 29 U.S.C. § 216(b) on behalf of themselves and other current and

former similarly situated employees, including Delivery Drivers, Chefs, Cooks, Food Preparers

13
Case 2:20-cv-01004-MCA-MAH Document 1 Filed 01/30/20 Page 14 of 30 PagelD: 14

and Dishwashers employed by defendants at Bareburger Hoboken at any time three years prior to
the filing of this action through the entry of judgment in this action (the “FLSA Collective”).
98. The exact number of FLSA Collective members is unknown to plaintiffs at this time, but
there are believed to be at least 20 such persons who have been victims of defendants’ common
policy and practices that have violated their rights under the FLSA by willfully denying them
overtime pay, tips and other wages.
99. The identities of the FLSA Collective members are known to the defendants and are
contained in the employment records that the defendants are required to create and maintain
pursuant to the FLSA and NJWHL.
100. As part of their regular business practice, defendants have intentionally, willfully, and
repeatedly harmed the FLSA Collective by engaging in a pattern, practice, and/or policy of
violating the FLSA.
101. As part of their regular business practice, defendants have intentionally, willfully, and
repeatedly harmed the FLSA Collective by engaging in a pattern, practice, and/or policy of
violating the FLSA.
102. This policy, pattern, or practice includes, inter alia:

a. failing to pay minimum wages;

b. failing to pay overtime at the rate of one and one-half times the FLSA
Collective’s regular hourly rate for hours worked over 40 in a workweek; and

c. failing to provide notice to the FLSA Collective of defendants’ intentions to
take a tip credit against the minimum wage, as required by 29 U.S.C. §
203(m) and 29 C.F.R. § 531.59(b).
103. Defendants’ unlawful conduct has been intentional, willful, and in bad faith and has

caused significant damage to the FLSA Collective.

104. Defendants unlawful conduct has been widespread, repeated and consistent.

14
Case 2:20-cv-01004-MCA-MAH Document1 Filed 01/30/20 Page 15 of 30 PagelD: 15

105. Defendants did not keep complete records, as required by law, of hours worked and
wages earned by plaintiffs and the FLSA Collective.
106. The FLSA Collective would benefit from the issuance of a court-supervised notice of the
present lawsuit and the opportunity to join the present lawsuit. Those similarly situated
employees are known to defendants and are readily identifiable and can be located through
defendants’ records, which they are required to maintain pursuant to the FLSA and NJWHL.
Those similarly situated employees should be notified of and allowed to opt into this action
pursuant to 29 U.S.C. § 216(b).

CLASS ACTION ALLEGATIONS
106. Plaintiffs brings the Third Claim and Fourth Claim against defendants as a
class/collective action for unpaid overtime and minimum wage on behalf of themselves and other
employees similarly situated pursuant to N.J.S.A. 34:11-56a25. N.J.S.A. 34:11-56a25 provides
in pertinent part, “An employee shall be entitled to maintain the action for and on behalf of
himself or other employees similarly situated, and the employee and employees may designate
an agent or representative to maintain such action for and on behalf of all employees similarly
situated.”
107. Plaintiffs are members of a class/collective of employees of current and former similarly
situated employees, including Delivery Drivers, Chefs, Cooks, Food Preparers and Dishwashers
employed by defendants at Bareburger Hoboken at any time during the period permitted by
N.J.S.A. 34:11-56a25.1, prior to the filing of the action through entry of judgment in this action
(the “New Jersey Class”).
108. The persons in the New Jersey Class are so numerous that joinder of all members is
impracticable. Further, N.J.S.A. 34:11-56a25 statutorily provides for a class action, without

regard to the number of members, to enforce rights protected by the N)WHL. The exact number

15
Case 2:20-cv-01004-MCA-MAH Document1 Filed 01/30/20 Page 16 of 30 PagelD: 16

of the New Jersey Class members is unknown to plaintiffs at this time, but there are believed to
be at least 20 such persons.

109. The identities of the New Jersey Class members are known to the defendants and are
contained in the employment records that the defendants are required to create and maintain
pursuant to the FLSA and NJWHL.

110. Plaintiffs are similarly situated to the New Jersey Class because they performed the same
or similar work under the same or similar terms and conditions of employment and were not paid
New Jersey state mandated overtime and minimum wage pay by the defendants. They have
sustained similar types of damages as a result of defendants’ willful failure to comply with the
NJWHL and supporting regulations of the New Jersey Department of Labor and Workplace
Development (“NJDOL”) contained in the New Jersey Administrative Code (“NJAC”).

111. Defendants did not keep complete records, as required by law, of hours worked and
wages earned by plaintiffs and the New Jersey Class.

112. Plaintiffs will fairly and adequately protect the interests of the members of the New
Jersey Class and have retained counsel competent and experienced in complex class action
litigation.

113. Plaintiffs have no interests that are contrary to or in conflict with those of the other
members of the New Jersey Class.

114. Plaintiffs know of no difficulty that will be encountered in the management of this
litigation that would preclude its maintenance as a class action.

115. Common questions of law and fact exist as to all members of the New Jersey Class that
predominate over any questions affecting solely individual members. Among the questions of

law and fact common to the New Jersey Class are:

a. whether defendants violated the NJWHL and the supporting NJDOL
regulations; and

16
Case 2:20-cv-01004-MCA-MAH Document1 Filed 01/30/20 Page 17 of 30 PagelD: 17

b. whether defendants failed to pay the restaurant workers all overtime wages
due at a rate of one and-one-half-times their regular hourly rate for all hours
worked in excess of 40 in a workweek in violation of the NJWHL; and

c. whether defendant failed to pay the restaurant workers minimum wages due in
violation of the NJWHL.

116. Defendants have acted or refused to act on grounds generally applicable to the New
Jersey Class, thereby making appropriate relief with respect to the New Jersey Class as a whole.
117. A class/collective action pursuant to N.J.S.A. 34:11-56a25 is superior to other available
methods for the fair and efficient adjudication of this controversy. Since damages suffered by
individual New Jersey Class members may be relatively small, the expense and burden of
individual litigation makes it virtually impossible for plaintiffs and the New Jersey Class
members to individually seek redress for the wrongful conduct alleged. Individual class
members lack the financial resources to conduct a thorough examination of defendants’
compensation practices to prosecute vigorously a lawsuit against defendants to recover such
damages. Class litigation is superior because it will obviate the need for unduly duplicative
litigation.
118. This action is properly maintainable as a class/collective action on behalf of plaintiffs,
and other employees similarly situated, pursuant to N.J.S.A 34:11-56a25.

FACTUAL ALLEGATIONS
119. Moussad was employed as a tipped Delivery Driver and/or Manager by Bareburger
Hoboken from in or about 2014 to in or about May 2019.
120. From 2014 to May 2017, Moussad worked solely as a tipped Delivery Driver. Moussad
worked approximately 80 hours per week as a Delivery Driver and defendants paid him a wage
of $5 per hour in the years of 2014, 2015 and 2016.

121. In 2017, he was paid $7 per hour as a Delivery Driver.

17
Case 2:20-cv-01004-MCA-MAH Document1 Filed 01/30/20 Page 18 of 30 PagelD: 18

122. From May 2016 to May 2019, Moussad was a dual function employee. He worked 30
hours a week as a Delivery Driver and 50 hours a week as a manager. For his work as a manager
through these years, Moussad was paid $16 to $18 per hour. For his work as a Delivery Driver
through these years, Moussad was paid $7 per hour.

123. Abdelmalaak was employed as a tipped Delivery Driver by Bareburger Hoboken from in
or about September 2014 to in or about June 2019.

124. In the years of 2014, 2015 and 2016, defendants paid Abdelmalaak $5 per hour and he
worked approximately 45 hours per week. In 2017, 2018 and 2019, defendants paid
Abdelmalaak $7 per hour.

125. Botros was employed as a tipped Delivery Driver by Bareburger Hoboken from in or
about 2016 to in or about July 2019.

126. Initially, Botros was a part-time employee. In 2018, Botros became a full-time tipped
Delivery Driver, working approximately 50 to 60 hours each week.

127. In 2016, defendants paid Botros $5 per hour and he worked approximately 35 hours per
week. In the years 2017, 2018 and 2019, defendants paid Botros $7 per hour and he worked
approximately 55 hours per week.

128. All Delivery Drivers at Bareburger Hoboken were paid the “tipped” minimum wage,
which is below the statutory regular minimum wage rate.

129. Defendants failed to notify Delivery Drivers of the tip credit provisions of the FLSA and
NJWHL, or defendants’ intent to apply a tip credit to the Delivery Drivers wages.

130. Dominguez was employed as a Cook and Food Preparer at Bareburger Hoboken from in

or about July 2015 to the present.

18
Case 2:20-cv-01004-MCA-MAH Document1 Filed 01/30/20 Page 19 of 30 PagelD: 19

131. In 2017, Dominguez was paid $12 per hour and worked approximately 55 hours per
week. In 2018, Dominguez was paid $13 per hour and worked approximately 55 hours per week.
In 2019, Dominguez was paid $15 per hour and worked approximately 55 hours per week.

132. Moreno has been employed as a Chef at Bareburger Hoboken from in or about April
2014 to the present.

133. Through the years of 2014 and 2015, Moreno earned $14 per hour. Through the years of
2016, 2017 and 2018, Moreno earned $15 per hour. In 2019, Moreno earned $16 per hour.
Moreno worked approximately 56 hours per week.

134. Defendants recorded plaintiffs’ and other restaurant workers’ hours of work through a
punch-in and punch-out system until in or about November 2018, at which point a Point of Sale
(POS) system was implemented to record hours worked by restaurant workers.

135. At all relevant times, plaintiffs and other restaurant workers typically worked
approximately 55-80 hours per workweek.

136. Before November 2018, plaintiffs and other restaurant workers were paid by defendants
each workweek with a combination of check and cash.

137. After November 2018, plaintiffs and other restaurant workers were paid by defendants
each workweek with only a check.

138. Defendants paid drivers $5 per hour in 2015 and 2016. From 2017 onwards, drivers were
paid $7 per hour.

139. Defendants paid Chefs, Cooks and Food Preparers between $12 and $16 per hour.

140. Defendants paid Dishwashers $10 per hour.

141. Defendants failed to pay plaintiffs and other restaurant workers overtime pay at one and
one half (114) times their regular hourly rate for hours worked in excess of 40 per workweek for

every workweek they worked.

19
Case 2:20-cv-01004-MCA-MAH Document 1 Filed 01/30/20 Page 20 of 30 PagelD: 20

142. Examples of such weekly pay periods in 2019 include pay periods ending on March 3,
May 19, June 16, August 25, and October 6, 2019.

143. Examples of such weekly pay periods in 2018 include pay periods ending on March 4,
May 20, June 17, August 26, and October 7, 2018.

144. Examples of such weekly pay periods in 2017 include pay periods ending on January 8,
April 23, July 9, and October 15, 2017.

145. Examples of such weekly pay periods in 2016 include pay periods ending on January 10,
April 24, July 10, and October 16, 2016.

146. In each of the identified pay periods above, plaintiffs and other restaurant workers
worked approximately 55 hours to 80 hours per week.

147. Before November 2018, Defendants did not provide the plaintiffs or other restaurant
workers written notification of the hours they worked or wages paid in a workweek.

148. Defendants have violated the recordkeeping requirements of the FLSA, 29 U.S.C.
§211(c), N.J.S.A. 34:11-56a20 and N.J.A.C. 12:56-4.1 and 4.2

149. Defendants failed to post, in a conspicuous, unobstructed place, pursuant to N.J.S.A.
34:11-56a21, the “New Jersey State Wage and Hour Law Abstract,” prescribed by the NJDOL,
setting forth the state minimum wage and overtime pay requirements in English and Spanish.
150. Defendants failed to post in a conspicuous, unobstructed place, pursuant to 29 C.F.R.
§516.4, a poster prescribed by the U.S. Department of Labor, Wage and Hour Division, setting
forth federal minimum wage and overtime pay requirements in English and Spanish.

FIRST CLAIM
(Fair Labor Standards Act - Unpaid Minimum Wage)

152. Plaintiffs and the FLSA Collective repeat and reallege all foregoing paragraphs as if fully

set forth herein.

20
Case 2:20-cv-01004-MCA-MAH Document1 Filed 01/30/20 Page 21 of 30 PagelD: 21

153. Defendants were employers of the FLSA Collective under the FLSA.

154. Defendants were required to pay the FLSA Collective at least the minimum wage rate for
all work performed.

155. Defendants were not eligible to avail themselves of the federal tipped minimum wage
rate under the FLSA because defendants were required, but failed, to inform the FLSA
Collective of the provisions of subsection 203(m) of the FLSA, 29 U.S.C. § 203(m) in
accordance with 29 C.F.R. § 531.59(b).

156. Tips were regularly insufficient to bring the hourly pay of Delivery Drivers to the
required minimum wage rate.

157. Defendants failed to pay the balance due to each Delivery Driver to bring his or her
wages up to the full minimum wage rate.

158. Defendants failed to pay the FLSA Collective the minimum wage rate for all hours
worked.

159. Defendants were aware or should have been aware that the practices described in this
Complaint were unlawful and have not made a good faith effort to comply with the FLSA with
respect to the compensation of the FLSA Collective.

160. Defendants violations of the FLSA in this First Claim have been willful and, therefore, a
three-year statute of limitations applies pursuant to the FLSA, 29 U.S.C. § 255(a).

161. Asa result of defendants’ willful violations of the FLSA, the FLSA Collective suffered
damages by being denied minimum wages and are entitled to recovery of such amounts,

liquidated damages, pre- and post-judgment interest, attorneys’ fees and costs, and other

compensation pursuant to 29 U.S.C. § 216(b).

21
Case 2:20-cv-01004-MCA-MAH Document1 Filed 01/30/20 Page 22 of 30 PagelD: 22

SECOND CLAIM
(Fair Labor Standards Act — Unpaid Overtime)

162. Plaintiffs and the FLSA Collective repeat and reallege all foregoing paragraphs as if fully
set forth herein.
163. Defendants are required to pay plaintiffs and the FLSA Collective one and one-half (1)
times the regular rate of pay for all hours they worked in excess of 40 in a workweek pursuant to
the overtime wage provisions of the FLSA, 29 U.S.C. § 207, et seq.
164. Defendants have failed to pay plaintiffs and the FLSA Collective the overtime wages to
which they are entitled under the FLSA, even though plaintiffs and the FLSA Collective have
regularly worked more than 40 hours per workweek.
165. Defendants were aware or should have been aware that the practices described in this
Claim were unlawful and have not made a good faith effort to comply with the FLSA with
respect to the compensation of plaintiffs and the FLSA Collective.
166. Defendants’ violations of the FLSA have been willful and, therefore, a three-year statute
of limitations applies pursuant to the FLSA, 29 U.S.C. § 255(a).
167. As a result of defendants’ willful violations of the FLSA, plaintiffs and the FLSA
Collective have suffered damages by being denied overtime pay in accordance with the FLSA
and are entitled to recovery of such amounts, liquidated damages, pre- and post-judgment
interest, attorneys’ fees and costs, and other compensation pursuant to 29 U.S.C. § 216(b).
THIRD CLAIM
(New Jersey State Wage and Hour Law — Unpaid Minimum Wage)

168. Plaintiffs and the New Jersey Class repeat and reallege all foregoing paragraphs as if

fully set forth herein.

169. Defendants were employers of the New Jersey Class within the meaning of the NJWHL.

22
Case 2:20-cv-01004-MCA-MAH Document1 Filed 01/30/20 Page 23 of 30 PagelD: 23

170. Defendants were not eligible to avail themselves of a tipped minimum wage rate under
the NJWHL because the defendants were required, but failed, to inform the New Jersey Class of
their intention to take a tip credit under the NJWHL.

171. Tips were regularly insufficient to bring the hourly pay of drivers to the required
minimum wage rate.

172. Defendants failed to pay the balance due to each tipped member to bring his or her wages
up to the full minimum wage rate.

173. Defendants failed to pay the New Jersey Class the minimum wage rate for all hours
worked.

174. Defendants were aware or should have been aware that the practices described in this
Complaint were unlawful and have not made a good faith effort to comply with the NJ WHL with
respect to the compensation of the New Jersey Class.

175. As a result of defendants’ willful violations of the NJWHL, the New Jersey Class
suffered damages by being denied minimum wages and are entitled to recovery of such amounts,
pre- and post-judgment interest, and attorneys’ fees and costs.

FOURTH CLAIM
(New Jersey Wage and Hour Law — Unpaid Overtime)

176. Plaintiffs and the New Jersey Class repeat and reallege all foregoing paragraphs as if
fully set forth herein.
177. Under the NJWHL, defendants are required to pay plaintiffs and the New Jersey Class

one and one half (114) times the regular rate of pay for all hours they worked in excess of 40

hours in a workweek.

178. Plaintiffs and the New Jersey Class have regularly worked more than 40 hours per week.
179. Defendants have failed to pay plaintiffs and the New Jersey Class members the overtime
wages to which they are entitled under the NJWHL.

23
Case 2:20-cv-01004-MCA-MAH Document 1 Filed 01/30/20 Page 24 of 30 PagelD: 24

180. Defendants were aware or should have been aware that the practices described in this
Claim were unlawful and did not made a good faith effort to comply with the NJWHL with
respect to the compensation of plaintiffs and the New Jersey Class.
181. Defendants have willfully violated the NJWHL by knowingly and intentionally failing to
pay plaintiffs and the New Jersey Class members overtime wages.
182. Due to defendants’ violations of the NJWHL, plaintiffs and the New Jersey Class
members are entitled to recover their unpaid overtime wages, reasonable attorneys’ fees and
costs of the action, pre- and post-judgment interest and any other compensation or remedy
provided for by N.J.S.A. 34:11-56a25.
PRAYER FOR RELIEF

WHEREFORE, plaintiffs, the FLSA Collective, and the New Jersey Class
respectfully request that this Court enter a judgment:

a. certifying the case as a collective action for the violations of the FLSA, as it pertains to
the First Claim and Second Claim under the FLSA, 29 U.S.C. § 216(b), for the employees
described herein; designating plaintiffs’ counsel as counsel for the FLSA Collective; and
designating the named plaintiffs as representatives of the FLSA Collective;

b. certifying the case as a class action with respect to employees similarly situated,
pursuant to N.J.S.A. 34:11-56a25, as it pertains to the Third Claim and Fourth Claim for the
employees described herein; designating plaintiffs’ counsel as counsel for the New Jersey Class;
and designating the named plaintiffs as representatives of the New Jersey Class;

c. authorizing the issuance of notice at the earliest possible time to all restaurant workers
who were employed by defendants during the appropriate period preceding the filing of this
action. This notice should inform them that this action has been filed, describe the nature of the

action, and explain their right to opt into and participate in this lawsuit;

24
Case 2:20-cv-01004-MCA-MAH Document1 Filed 01/30/20 Page 25 of 30 PagelD: 25

d. declaring that defendants have violated the minimum wage provisions of the FLSA and
NJWHL;

e. declaring that defendants have violated the overtime provisions of the FLSA and
NJWHL;

f. declaring that defendants’ violations of the FLSA were willful;

g. awarding plaintiffs, the FLSA Collective, and the New Jersey Class damages for
minimum wage and overtime pay violations under the FLSA and NJWHL;

h. awarding plaintiffs, the FLSA Collective, and the New Jersey Class liquidated
damages pursuant to the FLSA and liquidated damages to the extent authorized by N.J.S.A.
34:11 —56a25 of the NJWHL;

i. awarding plaintiffs, the FLSA Collective, and the New Jersey Class pre- and post-
judgment interest as permitted by the FLSA and NJWHL;

j. awarding plaintiffs and the New Jersey Class all damages provided for by N.J.S.A.
34:11-56a25;

k. awarding plaintiffs, the FLSA Collective, and the New Jersey Class reasonable
attorneys’ fees and costs pursuant to the FLSA and NJWHL; and

|. awarding such other and further relief as the Court deems just and proper.

LAW OFFICES OF MITCHELL SCHLEY, LLC
By: — s/Mitchell Schley

Mitchell Schley

197 Route 18, Suite 3000

East Brunswick, NJ 08816

(732) 325-0318

mschley@schleylaw.com

Attorneys for Plaintiffs and FLSA
Collective and New Jersey Class

Dated: January 29, 2020

25
Case 2:20-cv-01004-MCA-MAH Document 1 Filed 01/30/20 Page 26 of 30 PagelD: 26

FLSA CONSENT FORM

. ‘ : syer andfor Manager
I am or was employed as a (job) Fe pret Delvrery Denes y Bare Hoboken, LLC.,

Bareburger Group, Inc. and any related entities, affiliates, subsidiaries or individuals (collectively,
the “Company”) from on or about AQI4 to on or about

Mau 2am . Lbelieve | am entitled to additional wages for unpaid minimum wage
and/or unpaid overtime pay for work performed in excess of 40 hours in any week. | wish to be
included as a party in the pay claims being asserted against the Company by employees of the
Company, and I hereby give consent to the Law Offices of Mitchell Schley, LLC or such other
representatives as they may associate with, to bring suit against the Company and any related
entities and/or owners, principals or individuals, on my behalf under the Fair Labor Standards Act,
29 U.S.C. § 201 et seq. and any applicable state law, and to represent me in such claims and
settlement of such claims.

 

a, * ge . “ oe f
Join AEE tne - fb ebpa ef Lteissad.

Signature Print Name
Case. 2:20-cv-01004-MCA-MAH... Document.1.. Filed 01/30/20. Page 27 of 30 PagelD: 27...

FLSA CONSENT FORM

| am or was employed as a (job) Mpped Delivery Driver by Bare Hoboken, LLC.,
Bareburger Group, Inc. and any related entities, affiliates, subsidiaries or individuals (collectively,
the “Company”) from on or about Seerember QOiy to on or about

Tune 8019 . [believe | am entitled to additional wages for unpaid minimum wage
and/or unpaid overtime pay for work performed in excess of 40 hours in any week. I wish to be
included as a party in the pay claims being asserted against the Company by employees of the
Company, and I hereby give consent to the Law Offices of Mitchell Schley, LLC or such other
representatives as they may associate with, to bring suit against the Company and any related
entities and/or owners, principals or individuals, on my behalf under the Fair Labor Standards Act,
29 U.S.C. § 201 et seq. and any applicable state law, and to represent me in such claims and
settlement of such claims.

2 tol, apie wa 7 + tf ,*
' Signature J i Name

 

 
Case 2:20-cv-01004-MCA-MAH. Document 1. Filed 01/30/20 Page 28 of 30 PagelD: 28

FLSA CONSENT FORM

J am or was employed as a (job) |Deljyer4 drive by Bare Hoboken, LLC.,
Bareburger Group, Inc. and any related entities, affiliates, subsidiaries or individuals (collectively,
the “Company”) from on or about 2O\h to on or about

Vulu t( 2e{ G4 _. [believe I am entitled to additional wages for unpaid minimum wage
and/or unpaid overtime pay for work performed in excess of 40 hours in any week. I wish to be
included as a party in the pay claims being asserted against the Company by employees of the
Company, and I hereby give consent to the Law Offices of Mitchell Schley, LLC or such other
representatives as they may associate with, to bring suit against the Company and any related
entities and/or owners, principals or individuals, on my behalf under the Fair Labor Standards Act,
29 U.S.C. § 201 et seq. and any applicable state law, and to represent me in such claims and
settlement of such claims.

a
Car eg 1D. BeYcos Gor ect Demian BeYres

Signature Print Name
Case 2:20-cv-01004-MCA-MAH Document1 Filed 01/30/20 Page 29 of 30 PagelD: 29

FLSA CONSENT FORM

I am or was employed as a (job) Cook and Food Preparer by Bare Hoboken, LLC.,
Bareburger Group, Inc. and any related entities, affiliates, subsidiaries or individuals (collectively,
the “Company”) from on or about uly 2015 to on or about

pcesentr . 1 believe | am entitled to additional wages for unpaid minimum wage
and/or unpaid overtime pay for work performed in excess of 40 hours in any week. I wish to be
included as a party in the pay claims being asserted against the Company by employees of the
Company, and I hereby give consent to the Law Offices of Mitchell Schley, LLC or such other
representatives as they may associate with, to bring suit against the Company and any related
entities and/or owners, principals or individuals, on my behalf under the Fair Labor Standards Act,

29 U.S.C, § 201 et seq. and any applicable state law, and to represent me in such claims and
settlement of such claims.

 

5 fo ~
bv Ce a ° / 2. 7
ger L01S Hime de JOM UGIVOL
Signature Print Name
Case 2:20-cv-01004-MCA-MAH Document 1 Filed 01/30/20 Page 30 of 30 PagelD: 30

 

 

FLSA CONSENT FORM
I am or was employed as a (job) Chef by Bare Hoboken, LLC.,
Bareburger Group, Inc. and any related entities, affiliates, subsidiaries or individuals (collectively,
the “Company”) from on or about Fepril &d/4¥ to on or about
present . [believe I am entitled to additional wages for unpaid minimum wage

 

and/or unpaid overtime pay for work performed in excess of 40 hours in any week. I wish to be
included as a party in the pay claims being asserted against the Company by employees of the
Company, and I hereby give consent to the Law Offices of Mitchell Schley, LLC or such other
representatives as they may associate with, to bring suit against the Company and any related
entities and/or owners, principals or individuals, on my behalf under the Fair Labor Standards Act,
29 U.S.C, § 201 et seq. and any applicable state law, and to represent me in such claims and
settlement of such claims.

an ,
“Nos oe Me-veud
Print Name

 

Signature

 
